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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE NUMBER
 UNITED STATES OF AMERICA,
                                                    Plaintiff(s)             21-6967-GHK
                                v.
                                                                     (PROPOSED) ORDER ON REQUEST FOR
 $341,500 U.S. Currency,                                               APPROVAL OF SUBSTITUTION OR
                                                                         WITHDRAWAL OF ATTORNEY
                                                 Defendant(s).


        The Court hereby orders that the request of:

        Ike Roberts                         G Plaintiff G Defendant XG Other                 Claimant
                Name of Party

to substitute           Eric Honig                                                                               who is

        XG      Retained Counsel                  G Counsel appointed by the Court (Criminal cases only)              G Pro
                                                                                                                      Se

                P.O. Box 10327
                                                            Street Address

        Marina del Rey,, CA 90295                                             erichonig@aol.com
                        City, State, Zip                                                     E-Mail Address

        310-699-8051                       310-943-2220                              140765
                Telephone Number                            Fax Number                                State Bar Number

as attorney of record instead of           Allison Margolin
                                              List all attorneys from same firm or agency who are withdrawing.



is hereby       G GRANTED                  G DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in this case.


        Dated
                                                                     U. S. District Judge/U.S. Magistrate Judge


G–01 ORDER (09/17) (PROPOSED) ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
